
LIPEZ, Circuit Judge.
This case requires us to assess the constitutionality of restrictions imposed by the City of Newport, Rhode Island (City), on the performance of music at Asterix and Obelix (A &amp; 0), a Newport restau-ranVnightclub. The district court rejected a First Amendment challenge to the restrictions mounted by A &amp; 0 and Laurel Casey, a cabaret singer who performs at A &amp; 0, and entered summary judgment for the City on the ground that the restrictions were narrowly tailored to serve a significant governmental interest. Concluding that the district court’s narrow-tailoring decision lacks support in the record, we vacate the judgment and remand for further proceedings.
I.
A &amp; 0 is located at 599 Thames Street in Newport. The property is zoned “limited business” and abuts a residential neighborhood. In June of 1998 A &amp; 0 was granted an entertainment license permitting musical performances, pursuant to Newport, R.I., Ordinances ch. 5.68 (Public Entertainment). The word “None” was typed next to the word “Amplification” on the approved application. On June 4, 1999, Casey performed at A &amp; 0 with her voice amplified, accompanied by an amplified bass and an unamplified piano. That evening A &amp; 0 was cited for violating the City’s noise ordinance. Newport, R.I., Ordinances ch. 8.12 (Noise Abatement) (setting maximum decibel level of 75 for districts zoned “limited business”). Casey explained the events which gave rise to the violation of the noise ordinance at a City Council hearing on June 9:
Now, to tell you the truth, it was my fault last Friday that we went over the ... Noise Ordinance. A person in the audience requested that I sing from an operetta and I began to sing a portion of Rinaldo. There are several high notes that go above high note C in R[i]naldo and it was those high notes apparently that shot us off the scale.
The complaint against A &amp; 0 was subsequently dismissed. As far as the record reveals, A &amp; 0 was not cited for violating the terms of its entertainment license.
On June 9, 1999, the City Council held a hearing on A &amp; O’s application for a renewed license that would permit amplification. Residents of the neighborhood voiced displeasure with the noise emanating from A &amp; 0 during musical performances. The Council voted to renew A &amp; O’s entertainment license, but with the no-amplification restriction still in place, and with an added prohibition against singing (whether amplified or not).
On June 18, 1999, Casey filed a complaint against the City in federal district court seeking declaratory and injunctive relief and damages under 42 U.S.C. § 1983 on the ground that the no-singing and no-amplification restrictions violated her right to free expression under the First Amendment. On June 23, 1999, the Council removed the no-singing restriction, which it had imposed in the mistaken belief that A &amp; O’s previous license had included the same restriction.1 The no-amplification restriction, however, remained in force. The *110Council also required that A &amp; 0 keep its doors and windows closed during musical performances.2 A First Amended Complaint was filed on July 9, 1999, adding A &amp; O as a plaintiff.
On May 1, 2000, the Council again renewed A &amp; O’s entertainment license, this time with amplification of singing allowed, but amplification of musical instruments forbidden. A Second Amended Complaint filed on July 31, 2000, added a count challenging the ban on amplification of instruments effective as of June 2000. After the parties filed cross-motions for summary judgment, the district court granted summary judgment for the City on October 24, 2001, holding that the challenged restrictions were valid time, place, and manner regulations that did not infringe upon the plaintiffs’ First Amendment rights. Plaintiffs filed this timely appeal in which they ask us to vacate the judgment of the district court and order the entry of a judgment declaring that the City’s license restrictions are unconstitutional, enjoining their enforcement, and leaving the question of damages for the district court on remand.
II.
We review the district court’s grant of summary judgment for the City de novo, examining the record in the light most favorable to Casey and A &amp; O and drawing all reasonable inferences in their favor. We affirm the district court’s decision only if “there is no genuine issue of material fact” and the City “is entitled to judgment as a matter of law.” See Knights of Columbus, Council # 94 v. Town of Lexington, 272 F.3d 25, 30 (1st Cir.2001). Here we focus on the legal question of whether the challenged restrictions violate the First Amendment. See id.
“Music, as a form of expression and communication, is protected under the First Amendment.” Ward v. Rock Against Racism, 491 U.S. 781, 790, 109 S.Ct. 2746, 105 L.Ed.2d 661 (1989). Expression need not include words to qualify for First Amendment protection. The Supreme Court has said that “a narrow, succinctly articulable message is not a condition of constitutional protection, which if confined to expressions conveying a ‘particularized message,’ would never reach the unquestionably shielded painting of Jackson Pollock, music of Arnold Schoenberg, or Jabberwocky verse of Lewis Carroll.” Hurley v. Irislu-American Gay, Lesbian and Bisexual Group of Boston, 515 U.S. 557, 569, 115 S.Ct. 2338, 132 L.Ed.2d 487 (1995) (citation omitted). Thus it is not just Casey’s verbal expression, but also the musical sound she and her band produce, that is protected under the First Amendment.
Nevertheless, “the government may impose reasonable restrictions on the time, place, or manner of protected speech,” if those restrictions are (1) content neutral; (2) narrowly tailored to serve a significant governmental interest; and (3) leave open ample alternative channels of communication. Ward, 491 U.S. at 791, 109 S.Ct. 2746. We have described our review under this standard as “intermediate scrutiny.” Nat’l Amusements, Inc. v. Town of Dedham, 43 F.3d 731, 736 (1st Cir.1995). Intermediate scrutiny is “more demanding than the ‘rational basis’ standard that is often used to gauge the constitutionality of economic regulations,” id., but less rigorous than strict scrutiny, where we inquire “whether a regulation ‘is necessary to serve a compelling state interest and is narrowly drawn to achieve that end.’ ” Id. (quoting Arkansas Writ*111ers’ Project Inc. v. Ragland, 481 U.S. 221, 231, 107 S.Ct. 1722, 95 L.Ed.2d 209 (1987)). If a regulation of speech is not narrowly tailored to serve a significant governmental interest, it cannot be deemed constitutional. See Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 668, 114 S.Ct. 2445, 129 L.Ed.2d 497 (1994) (vacating district court decision that content-neutral regulation of speech was constitutional because facts in the record failed to establish that narrow-tailoring requirement was met). The burden of proof is on the City to demonstrate that its restrictions on speech are narrowly tailored. See Board of Trustees v. Fox, 492 U.S. 469, 480, 109 S.Ct. 3028, 106 L.Ed.2d 388 (1989) (“[S]ince the State bears the burden of justifying its restrictions, it must affirmatively establish the reasonable fit we require.”) (citation omitted).
The district court held that the challenged restrictions were permissible under the Ward test. Although chronologically the first restriction imposed on performers at A &amp; O was the ban on singing, we think it makes more sense to begin our legal analysis with the no-amplification and no-amplification-of-instruments restrictions. We deal with the no-singing restriction last.3
A. No Amplification
1. Content Neutrality
The Supreme Court has said that “[t]he principal inquiry in determining content neutrality ... is whether the government has adopted a regulation of speech because of disagreement with the message it conveys. The government’s purpose is the controlling consideration.” Ward, 491 U.S. at 791, 109 S.Ct. 2746 (citation omitted). Thus a regulation that has a disparate effect on different styles of music may nevertheless be considered content neutral if the intent behind the regulation is unrelated to content. The district court found that “[t]he [City’s] clear objective in imposing the [no-amplification] restriction was to reduce noise ..., a purpose unrelated to the content of the message [appellants] sought to convey.” There being no suggestion in the record that the no-amplification restriction was motivated by the content of Casey’s performances, the restriction qualifies as content neutral.
2. Narrow Tailoring
On the question of narrow tailoring, the district court found that the no-amplification restriction in force between June of 1999 and June of 2000 (banning amplification of both singing and instruments) “serves defendants’ articulated interest” in noise reduction, and that without the restriction, “the City would be unable to control effectively the volume of music, amplified or unamplified, emanating from [A &amp; O].” The court then declared that the no-amplification restriction “does not burden more speech than necessary,” and that “plaintiffs could still convey their respective messages, but ... without the aid of an amplifier.” In sum, the district court found that the City could not have achieved the desired reduction in noise without imposing the no-amplification restriction, and that the restriction did not burden substantially more speech than was necessary to achieve the City’s objective.
*112In analyzing the district court’s conclusions regarding narrow tailoring, we are guided by the Supreme Court’s opinion in Ward and our opinion in Globe Newspaper Co. v. Beacon Hill Architectural Commission, 100 F.3d 175 (1st Cir.1996). Accordingly, we begin with a review of those opinions.
a. Ward
In Ward, the plaintiffs had challenged New York City’s requirement that performers on a city concert stage in Central Park use amplification equipment and a sound technician supplied by the city. 491 U.S. at 784, 109 S.Ct. 2746. The Court of Appeals had invalidated the requirement, holding that the city’s sound-amplification guideline was not narrowly tailored to further the city’s interest in limiting the sound emanating from the city’s stage because “it has not [been] shown ... that the requirement of the use of the city’s sound system and technician was the least intrusive means of regulating the volume.” Id. at 797, 109 S.Ct. 2746 (quoting Rock Against Racism v. Ward, 848 F.2d 367, 371 (2d Cir.1988)) (emphasis in original). The Supreme Court emphatically rejected this “least intrusive means” test: “orn-eases quite clearly hold that restrictions on the time, place, or manner of protected speech are not invalid ‘simply because there is some imaginable alternative that might be less burdensome on speech.’ ” 491 U.S. at 797, 109 S.Ct. 2746 (quoting United States v. Albertini, 472 U.S. 675, 689, 105 S.Ct. 2897, 86 L.Ed.2d 536 (1985)).
The Court then went on to reaffirm the applicable narrow-tailoring standard, stating first that “the requirement of narrow tailoring is satisfied so long as the ... regulation promotes a substantial government interest that would be achieved less effectively absent the regulation.” Ward, 491 U.S. at 799, 109 S.Ct. 2746 (internal quotation marks omitted). As the dissent notes, we have cited this statement in some of our own First Amendment cases. See Knights of Columbus v. Town of Lexington, 272 F.3d 25, 33 (1st Cir.2001); Nat’l Amusements, 43 F.3d at 744. However, as we recognized in Globe Newspaper, 100 F.3d at 189-90, see infra, this statement cannot be separated from the Supreme Court’s own qualification of the meaning of this statement, set forth in Ward:
To be sure, this standard does not mean that a time, place, or manner regulation may burden substantially more speech than is necessary to further the government’s legitimate interests. Government may not regulate expression in such a manner that a substantial portion of the burden on speech does not serve to advance its goals. So long as the means chosen are not substantially broader than necessary to achieve the government’s interest, however, the regulation will not be invalid simply because a court concludes that the government’s interest could be adequately served by some less-speech-restrictive alternative.
Ward, 491 U.S. at 799-800, 109 S.Ct. 2746 (emphasis added) (citations omitted).4
*113To demonstrate the importance of this qualification,5 the Court went on in Ward to explain why the city’s sound amplification guideline was not “substantially broader than necessary to achieve the government’s interest.” It noted that “[i]f the city’s regulatory scheme had a substantial deleterious effect on the ability of band-shell performers to achieve the quality of sound they desired, [plaintiffs] concerns would have considerable force.” Id. at 801, 109 S.Ct. 2746. It emphasized that the district court had found that the City’s sound technician “give[s] the sponsor autonomy with respect to the sound mix ... [and] does all that he can to accommodate the sponsor’s desires in those regards.” Id. at 802, 109 S.Ct. 2746 (internal quotation marks omitted). Moreover, the Court found no evidence that the City’s technician was unable to implement properly the performers’ instructions regarding sound quality or mixing. In light of those findings, the Court concluded that “the city’s guideline [requiring that performers use the City’s amplification equipment and sound technician] has no material impact on any performer’s ability to exercise complete artistic control over sound quality.” Id. Thus, the Court held that the guideline satisfied the requirement of narrow tailoring because it was “not substantially broader than necessary to achieve the city’s legitimate ends.” Id. (internal quotation marks omitted).
b. Globe Newspaper
In Globe Newspaper, we acknowledged that Ward’s “not substantially broader than necessary” requirement is part of the test for narrow tailoring. A Beacon Hill Architectural Commission regulation banned street furniture, including newspaper boxes, in Boston’s historic Beacon Hill neighborhood. The district court had held that the regulation violated the First Amendment because the Commission had “shown no reason why its interest in preserving the architectural and historic character of the [neighborhood] cannot be met by, for example, subjecting newsracks and other street furniture to the same review process as store-front merchandise racks.” Globe Newspaper, 100 F.3d at 188 (internal quotation marks omitted).
We reversed on the ground that the regulation promoted a substantial government interest in aesthetics that would have been achieved less effectively absent the regulation, and that it did so without burdening substantially more speech than necessary. Id. at 188-89. We explained that
[wjhile the district court correctly considered the fact that less-burdensome alternatives exist, it [gave] too much weight to that fact alone. In so doing, it essentially discounted] from the equation Ward’s inquiry into whether the [regulation] promotes the Commission’s interests such that they would be achieved less effectively absent the [regulation].
Id. at 189 (internal quotation marks and alterations omitted). Importantly, however, we declared that “less-burdensome alternatives must be considered in connection with the inquiry into whether, absent the challenged regulation, the government’s interests are achieved less effec*114tively,” and cautioned that “courts are not merely to defer to the government’s subjective judgment.” Id. at 190 (emphasis added).
We observed in Globe Newspaper that while the Commission “could have adopted a less drastic solution,” it had “carefully calculated the costs and benefits” associated with potential solutions to the problem of street furniture. Id. We concluded that “[t]he path [the Commission] chose to follow — eliminating the newsracks altogether — [was] the most effective solution aimed at reducing visual clutter and preserving the [neighborhood’s] historic character.” Id. In other words, while not engaging in a least-restrictive means analysis, we emphasized that the Commission had weighed the alternatives before it, and we pointed out that an obvious alternative to the ban on street furniture — requiring that news-racks be designed to “blend in” to the neighborhood — would have been less effective in achieving the Commission’s anti-clutter objective than an outright ban. Id. at 190-91. For our purposes, the essential point is that we emphasized in Globe Newspaper that the narrow-tailoring test requires the district court to consider whether the regulation challenged on First Amendment grounds sweeps more broadly than necessary to promote the government’s interest. That consideration, in turn, cannot be done without some evaluation of the alternative measures put in issue by the parties.
c. The District Court’s Rationale
As explained supra, the district court found the ban on amplification narrowly tailored because (1) the restriction serves the City’s interest in noise reduction; (2) this objective could not be achieved without the restriction; (3) the restriction does not burden more speech than necessary; and (4) Casey could still convey her message, but without the aid of an amplifier. Although we conclude that the record supports the district court’s first proposition — that the restriction advanced the City’s interest in noise reduction — it does not support the other three. Thus, the district court overlooked Ward’s requirement that the means chosen cannot be “substantially broader than necessary to achieve the government’s interest.” 491 U.S. at 800, 109 S.Ct. 2746.
i. The Restriction Serves the City’s Interest in Noise Reduction
We agree with the district court that the ban on amplification serves the City’s interest in noise reduction, as it limits the volume of noise performers can generate to the sound-production capacity of their unamplified voices and instruments. The restriction was implemented to protect residential neighbors of A &amp; O, and the Supreme Court has recognized that the government has “a substantial interest in protecting its citizens from unwelcome noise,” an interest that is “perhaps at its greatest when government seeks to protect the well-being, tranquility, and privacy of the home.” Id. at 796, 109 S.Ct. 2746 (internal quotation marks omitted). Nevertheless, as we have explained, the mere fact that the ban on amplification serves the City’s interest in noise reduction is not enough to satisfy the narrow-tailoring requirement.
ii. The City’s Objective Could Not Be Achieved Without the Restriction
The district court stated that without the no-amplification restriction, “the City would be unable to control effectively the volume of music ... emanating from [A &amp; O].” This statement implies that less-burdensome alternatives to the ban on amplification do not exist. But the record does not support the district court’s assertion. Casey and A &amp; O suggest that the City’s *115noise-reduction objective could be achieved by enforcement of the City’s noise ordinance. See Newport, R.I., Ordinances ch. 8.12 (Noise Abatement) (setting maximum decibel level of 75 for districts zoned “limited business”). This may or may not be so. However, as a matter of logic, reliance on the noise ordinance would be less restrictive than a total ban on amplification because it would permit the use of amplifiers at levels that did not exceed the decibel limit set in the noise ordinance. Yet the City did not explain why it could not have relied on this less-burdensome alternative to the no-amplification restriction. See Globe Newspaper, 100 F.3d at 190-91.
iii. The Restriction Does Not Burden More Speech Than Necessary
There is no support in the record for the district court’s conclusion that the restriction does not burden more speech than necessary to achieve the City’s interest in preventing excessive noise. See Ward, 491 U.S. at 802, 109 S.Ct. 2746 (upholding regulation that was not substantially broader than necessary). Neither in the district court’s opinion nor in the record is there any explanation of why the alternative advanced by the plaintiffs — enforcement of the City’s noise ordinance — would not have achieved the City’s interests as effectively as the amplification ban, while substantially diminishing the burden on speech. This approach is in sharp contrast to Ward, where the Court cited specific alternatives the City had rejected and its reasons for doing so.
In Ward, the Court explained that New York had rejected the idea of a fixed decibel limit for all performers using the band-shell “because the impact on listeners of a single decibel level is not constant, but varies in response to changes in air temperature, foliage, audience size, and like factors.” Id. at 786, 109 S.Ct. 2746. The city had also rejected the idea of using its own technician to operate equipment supplied by the performer, “because the city’s technician might have had difficulty satisfying the needs of [performers] while operating unfamiliar, and perhaps inadequate, sound equipment.” Id.; see also Globe Newspaper, 100 F.3d at 190 (“Designing the newsracks to better ‘blend in’ ... would promote the Commission’s interest by reducing their ‘unsightliness.’ It would not achieve, however, as effective a reduction in ‘the visual clutter.... ’ ”). By contrast, the district court’s opinion gives no indication as to why the City of Newport could not have relied on the noise ordinance to achieve its objective.
We do not see how the “substantially broader than necessary” determination could be made in this case absent some consideration of the alternative of enforcing the noise ordinance. Far from being a hypothetical possibility conjured up by appellants, the noise ordinance is on the books, is unmistakably designed to address the problem of excessive noise, and has been enforced against A &amp; O in the past. There is no indication in the record that such enforcement is not effective in achieving the City’s noise-reduction objective.6
We emphasize, however, that the City need not prove that the no-amplification restriction is the least restrictive means of achieving its objective of controlling excessive noise. Any such requirement is clearly proscribed by the precedents. Ward, 491 U.S. at 798, 109 S.Ct. 2746. However, if enforcing the noise ordinance would effectively achieve the City’s noise-reduction objective, and the burden on speech imposed by the no-amplification restriction is *116substantially broader than the burden that would be imposed by enforcing the noise ordinance, the no-amplification restriction may not meet the narrow tailoring test.
Inescapably, the application of the narrow tailoring test entails a delicate balancing judgment by the court. See Blount v. SEC, 61 F.3d 938, 946 (D.C.Cir.1995) (regulations of speech must, “by virtue of the narrow tailoring requirement ..., strike an appropriate balance between achieving [the government’s] goals and protecting constitutional rights”); Henderson v. Lujan, 964 F.2d 1179, 1184 (D.C.Cir.1992) (“Despite the seemingly mathematical character of the metaphor, the Supreme Court in fact applies [the narrow-tailoring requirement] as a balancing test....”). First Amendment plaintiffs often argue that a regulation sweeps too broadly and that less burdensome alternatives are available to accomplish the government’s objective. The government responds that the proposed alternatives would be less effective in achieving its objective. The trial court is then required to balance the competing interests under the narrow-tailoring standard, mindful that the government is not required to choose the least intrusive means of advancing its interests. Here, however, the court did not engage in any balancing analysis, deferring instead to the unsupported assertion of the City that the no-amplification restriction in A &amp; O’s license was the only effective means of addressing the noise problem.
The City calls to our attention Carew-Reid v. Metropolitan Transportation Authority, 903 F.2d 914 (2d Cir.1990), which held that a ban on the use of amplifiers on New York City subway platforms was narrowly tailored to the city’s interests in “elimination of excessive noise” and “public safety” (the concern was that amplified music interfered “with police communications, the public address system ... and the work of track crews”). Id. at 917. The district court had enjoined enforcement of the ban, finding that “the goal of noise reduction could be achieved by enforcing the 85 decibel limit” applicable to musical performances on subway platforms. Id. The Second Circuit held that the district court had “improperly relied on the perceived availability of a less-restrictive alternative to the amplifier ban— the use of decibel meters.” Id. at 917-18. It explained that the proposed alternative would be impractical: “The noise regulation requires that decibel measurements be taken at a distance of five feet from the music’s source. The difficulties in making such measurements on a crowded subway platform with riders rushing on and off trains are apparent....” Id. at 918.
Although a crowded subway platform in New York City seems far removed from a residential neighborhood in Newport, Rhode Island, there might be practical problems or administrative burdens that complicate the enforcement of a noise ordinance in this quieter setting. Such considerations are certainly relevant in evaluating whether a proposed alternative would effectively achieve the City’s objective. See id. However, this record is silent on any practical problems or administrative burdens that would render enforcement of the noise ordinance an ineffective alternative to the no-amplification restriction.7
*117Nevertheless, the dissent states that the record establishes that “the noise ordinance clearly failed to address the community’s concerns and, as such, cannot be considered an effective alternative.” Respectfully, that is not so. The scattered references to the Noise Ordinance at the City Council meeting on June 9, 1999 where the license restrictions were adopted do not amount to evidence that enforcement of the noise ordinance was considered and rejected as ineffective. Here is the sum and substance of these references:
• Councilor Sardella, questioning the requirement that an applicant list the specific types of instruments that performers would be permitted to play, said: “entertainment is entertainment and as long as someone doesn’t violate the noise ordinance I don’t believe we should be restricting them to whether they have a flute player, a guitar player, or a vocalist.”
• Casey explained that “it was my fault last Friday that we went over the ... noise ordinance”
• Doug Stevenson (a neighbor) said: “I don’t even think it’s an issue of violation of any Noise Ordinance, it’s just the fact that we didn’t have this noise before and now we do and we have to deal with it and we don’t like it.”
• Ms. Tarigo (unidentified) said: “last week so we could adhere to that City ordinance of the decibels of 65” (the language that precedes these words is illegible).
As we have explained, at the district court the burden- was on the City to show that the no-amplification restriction did not burden substantially more speech than necessary to achieve the City’s noise-reduction objective. See Fox, 492 U.S. at 480, 109 S.Ct. 3028. The City did not meet this burden simply by submitting evidence that the noise ordinance was mentioned at the meeting at which the no-amplification restriction was adopted. Indeed, the City itself has not argued — either in its motion for summary judgment or on appeal- — -that the Council considered the alternative of enforcing the noise ordinance and concluded that it would be ineffective. Nor has the City supplemented the record of the Council meeting with evidence supporting its view that the no-amplification restriction is narrowly tailored, as it was free to do at the district court.
The dissent is correct that residential neighbors were unhappy about the noise emanating from A &amp; O. However, it is mere speculation to say that enforcing the noise ordinance was an ineffective alternative to the no-amplification restriction when there is no indication in the record that the City had made any attempt to enforce it beyond the one incident documented in the record.
iv. Casey Could Still Convey Her Message Without Amplification
As its final basis for concluding that the ban on amplification was narrowly tailored, the district court stated that appellants “could sti-ll convey their respective messages, but ... without the aid of an amplifier.” Appellants respond, with the support of uncontradicted affidavits, that amplifiers are not used simply to take a “message” and make it louder while holding constant its content. To be sure, amplification may be necessary to convey a *118message, and appellants advance the argument that amplification is required for Casey’s voice to be heard over the chatter of A &amp; O’s patrons. However, as appellants point out, amplifiers are also used to create new “messages” that cannot be conveyed without amplification equipment. Amplification enables performers to boost the relative volume of quiet instruments, such as the bass and the lower registers of the human voice, and to adjust the tonal qualities of voices and instruments without necessarily increasing the overall volume of the performance.8 Much modern music simply cannot be performed without the use of amplifiers. Thus the ban on amplification has a direct and immediate effect on the expression at issue. The record therefore does not support the district court’s conclusion that appellants “could still convey their ... messages” without amplification. Without amplification, some of the messages are not conveyed at all.
The Supreme Court observed in Ward that “[i]f the city’s regulatory scheme had a substantial deleterious effect on the ability of bandshell performers to achieve the quality of sound they desired, [plaintiffs] concerns would have considerable force.” 491 U.S. at 801, 109 S.Ct. 2746. The Court emphasized that there was no evidence in the record that the quality of performances had been impaired by the City’s regulatory scheme. On the contrary, it declared that “the city’s guideline has no material impact on any performer’s' ability to exercise complete artistic control over sound quality.” Id. at 802, 109 S.Ct. 2746. Here, in contrast, there is evidence of a “deleterious effect” on the “quality of sound” Casey has been able to produce. Indeed, the regulation precluded outright the performance of certain songs that require her to sing quietly in a low register with amplification.
In sum, we conclude that the district court erred in its application of the Ward test for narrow tailoring to the facts of this case. The record does not support the district court’s conclusion that the City’s means were not substantially broader than necessary to achieve the government’s interest.
3. Alternative Channels
Although the failure of the record to support the district court’s conclusion that the no-amplification restriction is narrowly tailored to serve a significant governmental interest requires that we vacate the judgment below, we nevertheless note that the ban on amplification at A &amp; O does “leave open ample alternative channels of communication,” and thus satisfies the third prong of the Ward test. 491 U.S. at 790, 109 S.Ct. 2746 (internal quotation marks omitted). Appellants assert unpersuasively that “[t]here is no alternative for Laurel Casey to find a means to convey her artistic message to an audience of over 90 people on a Saturday night in a restaurant in Newport without having the benefit of an amplifier.” However, the restrictions imposed on performers at A &amp; O do not prevent Casey from performing at other establishments in Newport unencumbered by the same restrictions.
B. No Amplification of Instruments
The district court held that appellants lacked standing to challenge the restriction on amplification of instruments (but not singing) that has been in force since 2000. In the district court’s view, which the City reflects in its brief, Casey and A &amp; O are endeavoring to challenge the no^amplifica*119tion restriction “on behalf of’ other musicians. We disagree with this characterization of appellants’ claims, and hold that both Casey and A &amp; 0 have standing to assert violations of their own First Amendment rights.
“The basic requirements for Article III standing are that the petitioner is someone who has suffered or is threatened by injury in fact to a cognizable interest, that the injury is causally connected to the defendant’s action, and that it can be abated by a remedy the court is competent to give.” Save Our Heritage, Inc. v. FAA, 269 F.3d 49, 55 (1st Cir.2001). As a singer who performs with a band, Casey’s “expression” encompasses more than just her voice. It is the music she produces in conjunction with her band that constitutes her expression. If the quality of Casey’s performance has been affected by the ban on the amplification of her accompanists, she has suffered an injury in fact to a cognizable interest (her interest in performing her music as she wishes to perform it); the injury is causally connected to the restriction the City placed on A &amp; O’s entertainment license; and the district court has the power to remedy the injury (by enjoining enforcement of the restriction on amplification of instruments). Casey therefore has standing to challenge the restriction on the amplification of instruments. See id.
A &amp; 0 also has standing to challenge the restriction on the amplification of instruments. If, as appellants allege, the restriction has impaired the quality, of Casey’s performances, A &amp; 0 has suffered an injury in fact to a cognizable interest (a reduction in the quality of the entertainment it offers its customers); the injury is causally connected to the restriction on its entertainment license; and the district court has the power to remedy the situation (by declaring the restriction unconstitutional). See id.
Despite concluding that appellants lacked standing'to challenge the ban on amplification of instruments, the district court went on to declare that even if appellants did have standing, its analysis of the total ban on amplification applied equally to the ban on amplification of instruments. We have held that the district court erred in finding that the total ban on amplifica-tion was narrowly tailored to serve a significant governmental interest. We conclude likewise with respect to the ban on amplification of instruments. In restating its conclusion about the total ban on amplification, without additional analysis, the district court repeated its error of neglecting to consider the viability of the less-burdensome alternative of enforcing the City’s noise ordinance. We therefore remand to the district court for consideration of appellants’ challenge to the no-amplification-of-instruments restriction under the framework described in this opinion.9
C. No Singing
The district court found that the no-singing restriction in force for two weeks in June of 1999 was a valid regulation of speech. Casey and A &amp; 0 argue that the no-singing restriction was “facially invalid,” as it “had the effect of utterly suppressing Ms. Casey’s right to perform.” They also assert that there is no rational basis “for discriminating between one form of instrument, the human voice,” and “other instruments such as pianos and guitars.”
Frankly, we can make little sense of appellants’ facial invalidity argu*120ment, at least as they express it. They seem to argue that a ban on singing could never be permissible under any circumstances. Stated so sweepingly, that is an untenable proposition. Appellants also make an equally unavailing argument that the no-singing requirement is not content neutral, hoping to invoke strict scrutiny.10 See Arkansas Writers’ Project, 481 U.S. at 231, 107 S.Ct. 1722 (requiring state to show that content-based regulation of speech is “necessary to serve a compelling state interest” and “narrowly drawn to achieve that end”) (citation omitted). However, appellants do seem to argue, barely, that the no-singing restriction suffers from the same narrow-tailoring infirmities that afflict the restrictions on amplification. Based on our analysis supra, we conclude that the record does not support the district court’s holding that the no-singing restriction is narrowly tailored to serve a significant governmental interest. Thus the no-singing restriction too must be addressed by the district court on remand.
III.
To meet the narrow tailoring requirement set out in Ward, the City was required to establish that the challenged restrictions do not burden substantially more speech than necessary to achieve its interest in noise reduction. The City has failed to carry its burden on this point. The record is devoid of any explanation of why the alternative of enforcing the City’s noise ordinance — an alternative that is on the books, is designed to address the problem df excessive noise, and has been enforced against A &amp; O in the past — would not have achieved the City’s objective as effectively as the amplification ban, while placing a substantially lesser burden on speech. Absent some evidence of this in the record, the district court had no basis for deciding whether the challenged restrictions are, or are not, substantially broader than necessary to achieve the City’s objective.
We conclude, therefore, that the district court erred in its application of the test for narrow tailoring established in Ward and applied in Globe Newspaper, and hence the judgment entered for the City must be vacated. However, there is no basis in law for ordering the entry of judgment for appellants. The proper narrow-tailoring analysis remains to be done and, depending on the outcome of that analysis, damages issues must be resolved. We therefore remand to the district court for further proceedings consistent with this opinion.

Judgement vacated. Remanded for further proceedings consistent with this opinion.


. The Council had intended on June 9 simply to deny A &amp; O's application to expand its previous license. On June 23 the Council concluded that to permit singing would not constitute an expansion of the license, and therefore removed the no-singing restriction.


. Appellants do not object to this requirement.


. Because plaintiffs are seeking damages, their challenges to restrictions that are no longer in effect (the no-singing and no-amplification restrictions) are not moot. See City of Richmond v. J.A. Croson Co., 488 U.S. 469, 478 n. 1, 109 S.Ct. 706, 102 L.Ed.2d 854 (1989) (noting that expiration of ordinance does not moot controversy because plaintiffs may be entitled to damages if City's conduct pursuant to ordinance was unlawful). As far as the record reveals, the no-amplification-of-instruments restriction remains in force.


. Without this qualification, the Court's first statement about the requirement of narrow tailoring ("the requirement of narrow tailoring is satisfied' so long as the ... regulation promotes a substantial government interest that would be achieved less effectively absent the regulation”) would be little more than a requirement that the regulation at issue be rationally related to the identified interest. To say that a regulation promotes a substantial government interest is tantamount to saying that the government interest would be achieved less effectively absent the regulation. Therefore; if this first statement were the extent of the test for narrow tailoring, it would be an extraordinarily easy one to pass. A regulation would have to be irrational — that is, fail entirely to promote the interests it was *113designed to promote-not to surmount this low hurdle. Recognizing that "narrowly tailored” must mean something more than non-irrational, the Court went on to articulate an additional requirement.


. Indeed, when the Supreme Court has cited the Ward narrow-tailoring test in subsequent cases, it has included this important qualification. See Turner Broad., 520 U.S. at 213, 117 S.Ct. 1174; United States v. Edge Broad. Co., 509 U.S. 418, 430, 113 S.Ct. 2696, 125 L.Ed.2d 345 (1993).


. Indeed, when appellants were cited for excessive noise in June of 1999 it was for violating the noise ordinance, rather than the no-amplification restriction on their license.


. Carew-Reid does assert that Ward "makes clear that the less-restrictive alternative analysis has no part in the review of a time, place or manner regulation.” Id. We believe this reasoning reflects a misreading of Ward, which rejected any requirement that the means chosen be the least restrictive. 491 U.S. at 798, 109 S.Ct. 2746. Ward does not say that the existence of less restrictive alternatives plays no part in the narrow tailoring analysis. Indeed, we said in Globe Newspaper that the existence of "numerous and obvious *117less-burdensome alternatives ... is certainly a relevant consideration,” just not a controlling one. 100 F.3d at 189-90 (quoting City of Cincinnati v. Discovery Network, Inc., 507 U.S. 410, 418 n. 13, 113 S.Ct. 1505, 123 L.Ed.2d 99 (1993)).


. The use of amplification to adjust the relative volume and tonal qualities of voices and instruments is called “mixing.”


. For the reasons given in connection with the total ban on amplification, the ban on amplification of instruments does satisfy Ward's content-neutrality prong.


. As the Supreme Court has explained, "[t]he principal inquiry in determining content neutrality ... is whether the government has adopted a regulation of speech because of disagreement with the message it conveys.” Ward, 491 U.S. at 791, 109 S.Ct. 2746. The district court found that
the [City] did not place the "no singing” restriction on [A &amp; O's] entertainment license because it disagreed with the message plaintiffs sought to convey. Rather, the [City] imposed the restriction ... in order to address the complaints defendants received from [A &amp; O’s] residential neighbors concerning the excessive and disturbing noise emanating from the restaurant during the late night hours.
Appellants point to nothing in the record suggesting that the no-singing restriction was motivated by the content of Casey's performances, or by specific animus toward singing as opposed to other forms of musical expression. We therefore agree with the district court that the restriction is content neutral.

